Case 1-24-40294-nni DOC y-2 Fed Qo/O//24 Entered Us/O/i24 214009

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|Debtor name New York International Bagel & Coffee Inc. _

|
United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK _
Case number (if known) 1-24-40294
AMENDED
Official Form 206Sum

HE Check if this is an
| amended filing

Summary of Assets and Liabilities for Non-Individuals 12/15
Ge Summary of Assets —
1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
1a. Real property:
Copy line 88 from Schedule A/B..cc.ssscccsesssssscessusssssesssnssesssssesnustesinsessineetenesenessesesiesssttnssstennsseeenneneeeusnsee $ 0.00
1b. Total personal property:
Copy line 914A from Schedule A/B.csccesscssssccssssssssssunsssseesessssssesesssnseessuenseeeiensesttunsssseersisinsareesensessssseenusssesees $ 0.00
1c. Total of all property:
Copy line 92 from Schedule A/B.ueseessxcssssssusseisisasstsionbianossrieasusbcensseeebsstesbscbevcocossuestibsedSounpsssiasnssaesbastsans $ 0.00
Summary of Liabilities _ ee
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....scssssssssseenseeessimsee $ ___ 0.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule E/F.......sccssssesunseveusseeessesscnenninnssssnssneseenensees $ _0.00
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line Sb of Schedule E/F......csccs-cesnesessseceesseeeeeseeseenees +$ 839,000.00
4, Total Viabbilities ooo cece ccc cesescecsescecscssessceccnsnaccanecenanecereaenaecesesesenausacccssenssensanasenseenasenticaratnenesuaessneeuesrneseneeas aes
Lines 2 + 3a + 3b $ 839,000.00

Dated: Manhasset, N.Y.
May 7, 2024

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals

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I declare under the penalty of
that the foregoing is true and
correct.

Z—=—

Matafoud Ismail-Principal

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